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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA                        INDICTMENT

                                                Case No. ______________________
                 v.
                                                Violations: 18 U.S.C. §§ 113(a)(3),
NEZERETH RED TOMAHAWK                           113(a)(6), and 1153

                                      COUNT ONE

                       Assault Resulting in Serious Bodily Injury

The Grand Jury Charges:

       On or about March 31, 2023, in the District of North Dakota, in Indian country,

and within the exclusive jurisdiction of the United States,

                            NEZERETH RED TOMAHAWK,

an Indian, did assault Jeremiah Red Tomahawk, which assault resulted in serious bodily

injury to Jeremiah Red Tomahawk;

       In violation of Title 18, United States Code, Sections 113(a)(6) and 1153.
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                                      COUNT TWO

                          Assault With a Dangerous Weapon

The Grand Jury Further Charges:

       On or about March 31, 2023, in the District of North Dakota, in Indian country,

and within the exclusive jurisdiction of the United States,

                            NEZERETH RED TOMAHAWK,

an Indian, did assault Jeremiah Red Tomahawk with a dangerous weapon, namely, a bat,

with intent to do bodily harm;

       In violation of Title 18, United States Code, Sections 113(a)(3) and 1153.

                                           A TRUE BILL:

                                          _________________________________
                                          /s/ Foreperson
                                          Foreperson

/s/ Mac Schneider
MAC SCHNEIDER
United States Attorney

BSR/tmg
